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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL M INUTES--GENERAL


Case No. SACV 11-0301-CJC (VBKx)                                           Date: May 3, 2012

Title: Yassir Fazaga, et al. v. Federal Bureau of Investigation, et al.
DOCKET ENTRY

PRESENT:
           HON. DAVID T. BRISTOW, UNITED STATES MAGISTRATE JUDGE
              Deb Taylor                     RS-4 03-29-12
              Deputy Clerk                  Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:            ATTORNEYS PRESENT FOR DEFENDANTS:
      Peter Bibring                                   Anthony Joseph Coppolino
      Ahilan T. Arulanantham                          Lynn Y. Lee
      Laura Moran                                     Brian R. Michael
                                                      Carl J. Nichols
                                                      Alexander H. Cote
                                                      Stephen E. Handler

PROCEEDINGS:         TELEPHONIC STATUS CONFERENCE RE SETTLEMENT
                     CONFERENCE

       The case was called for a telephonic status conference. Attorneys Peter Bibring,
Ahilan T. Arulanantham, and Laura Moran appeared on behalf of plaintiffs. Assistant
United States Attorneys Anthony Joseph Coppolino and Lynn Y. Lee appeared on
behalf defendants United States of America, Federal Bureau of Investigation, Robert
Mueller, and Steven M. Martinez. Assistant United States Attorney Stephen F. Handler
appeared on behalf of the United States of America. Attorneys Brian R. Michael, and
Carl J. Nichols appeared on behalf of defendants J. Stephen Tidwell and Barbara Walls.
Attorney Alexander H. Cote appeared on behalf of defendants Pat Rose, Kevin
Armstrong and Paul Allen. The Court and counsel discussed the status of settlement,
as well as preparations for the upcoming settlement conference.

                                                                               00   :   30

                                              Initials of Deputy Clerk
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